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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ILLINOIS

 MARK HALE, TODD SHADLE, and
 LAURIE LOGER, on behalf of themselves and
 all others similarly situated,
                                                Case No. 3:12-cv-00660-DRH-SCW
                       Plaintiffs

             v.                                 Judge David R. Herndon

 STATE FARM MUTUAL AUTOMOBILE                   Magistrate Judge Stephen C. Williams
 INSURANCE COMPANY, EDWARD
 MURNANE, and WILLIAM G. SHEPHERD,

                       Defendants.



                  PLAINTIFFS’ MOTION FOR ATTORNEYS’ FEES AND COSTS AND
                     INCORPORATED MEMORANDUM OF LAW IN SUPPORT




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                                            INTRODUCTION

             The rise of “dark money” in our legislative and judicial elections is one of the most

 important issues of our time. As one commentator noted, the “flood of secret money leaves

 voters without important information about the interests trying to shape state courts, and it can

 obscure potential conflicts of interest for judges and litigants alike.” Alicia Bannon, The rise of

 dark money is a threat to judicial independence, ABA Journal (July 5, 2018).1 But “by

 definition, dark money is hard to trace,” id., and when left unchecked, it threatens to undermine

 the integrity of our representative democracy and the impartiality of our courts. Through this

 lawsuit, Plaintiffs and Class Counsel endeavored to shine a spotlight on this issue and to

 vindicate the rights of millions of State Farm insureds who had been deprived of their property

 interest in a court judgment and their constitutional guarantee to an impartial forum.2
             As the Court is well aware, the extraordinary facts underlying this lawsuit stretch back

 more than twenty years. In 1997, consumers filed a proposed nationwide class action, Avery v.

 State Farm Mutual Automobile Insurance Co. (“Avery”), alleging that State Farm violated

 consumer protection laws and breached its contracts with policy holders by equipping their

 vehicles with sub-standard non-OEM parts. A class of approximately 4.7 million insureds was

 certified and, after an eight week trial in 1999, they secured a $1.18 billion verdict. That verdict

 was reduced to $1.056 billion by the intermediate court of appeals but otherwise upheld. State

 Farm then petitioned for review in the Illinois Supreme Court, and shortly thereafter in 2002, it

 was announced that there would be a vacancy on that Court in 2004.


 1
   Available at http://www.abajournal.com/news/article/the_rise_of_dark_money_is_a_threat
 to_judicial_independence (last visited October 5, 2018).
 2
   Class action and attorneys’ fee expert Professor Charles Silver also noted the importance of this
 issue, observing that “[t]his lawsuit was brought to preserve the miracle [of the American Civil
 Justice system] by exposing a conspiracy to deprive a class of millions of people of access to a
 neutral court” and concluding that “[i]t is an example of private litigation at its finest.”
 Declaration of Charles Silver (“Silver Decl.”) at 1. Professor Rubenstein similarly opined that
 this litigation “helped shine a light on decisionmaking at the highest level of the state’s judiciary
 system” and that “[t]here are few more important tasks for lawyers then helping to ensure the
 fairness of our judicial system.” Declaration of William Rubenstein (“Rubenstein Decl.”) ¶ 37.


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             At that time, Plaintiffs alleged in their lawsuit, State Farm and its co-defendants engaged

 in a scheme to (1) secretly recruit then-trial Judge Karmeier to run for the open seat on the

 Illinois Supreme Court, before which the billion-dollar judgment against State Farm in Avery

 was pending; (2) help organize and manage his campaign behind the scenes; (3) covertly funnel

 millions of dollars (well over a majority of all reported campaign funds) to support the Karmeier

 campaign through intermediary organizations over which it exerted considerable influence; and

 (4) most importantly, after securing Justice Karmeier’s election, obscure, conceal, and
 misrepresent the degree and nature of their support so that Justice Karmeier could participate in

 the Avery deliberations. The scheme was a success. Justice Karmeier was elected in 2004, and

 his very first act as a Justice was to break the “deadlock” in the Illinois Supreme Court and vote

 to overturn the Avery verdict.3

             In 2012, after considerable investigative efforts led by Class Counsel and their agents

 (including a retired FBI agent), Plaintiffs filed the instant action alleging that the Defendants’

 scheme violated the Racketeer Influenced Corrupt Organizations Act (“RICO”), and deprived

 Plaintiffs of an impartial forum and their property interest in the Avery judgment. To Counsel’s

 knowledge, no similar lawsuit had ever been, or has since been, attempted.

             The litigation that ensued was, to put it mildly, intense. Over more than six years,

 Plaintiffs briefed nearly 100 contested motions, took and defended dozens of depositions,

 reviewed hundreds of thousands of pages of produced documents, took extensive third party

 discovery, and argued and briefed dozens of discovery disputes. By the time the trial began in

 September 2018, Plaintiffs had achieved class certification and survived a motion to dismiss, two

 summary judgment motions, and three trips to the Seventh Circuit.

             After a jury had been selected, and on the eve of opening statements—and with the

 assistance of a Court-appointed mediator—the Parties reached an agreement to settle Plaintiffs’


 3
  The Avery plaintiffs’ efforts to seek Justice Karmeier’s recusal and to recall the mandate based
 on his conflicts—filed without the benefit of formal discovery—were both denied without
 explanation, and the state court proceedings concluded in 2011.


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 claims for a non-reversionary fund of $250 million. In light of the complexity of the issues and

 the risk of trial and appeals that would follow, this is an extraordinary result for the Class.

             For the many years of risky, expensive, and labor-intensive work that Class Counsel4

 expended to achieve this result, they seek one third of the common fund (including any interest

 accrued therefrom, but net of administrative costs5) and $6,971,852.80 in expenses. As

 confirmed by class action and attorney fee experts Professors William Rubenstein, Brian

 Fitzpatrick, and Charles Silver, Class Counsel’s request is reasonable, customary, and even

 conservative in large and complex cases like this one—and is fully supported by both the facts

 and law. The same is true for the requested service awards for the three Class Representatives.

                                            BACKGROUND

 I.          Class Counsel Undertook Extraordinary Risks in Prosecuting This Action.
             When this case was filed, it was in many ways without precedent. Setting aside the

 unique facts and legal issues underlying this specific case, successful RICO actions are

 exceedingly rare. Gross v. Waywell, 628 F. Supp. 2d 475, 480 (S.D.N.Y. 2009) (“[T]he

 statistical record indicates that in 98 percent of the RICO appellate cases surveyed, which do not

 include RICO actions dismissed by the district courts but not appealed, plaintiffs and counsel

 invested extensive time and energies in litigation only to come away with a total loss.”).

 Successful RICO class actions are rarer still. See, e.g., Silver Decl. at 34-36 (discussing

 empirical study of RICO class actions). Furthermore, to Counsel’s knowledge, no RICO action

 (individual or class) had ever been successfully pursued to shine a light on “dark money” in


 4
   “Class Counsel” or “Counsel” are “Lieff Cabraser Heimann & Bernstein, LLP; Barrett Law
 Group, P.A.; Hausfeld, LLP; Clifford Law Offices; Much Shelist, P.C.; Thrash Law Firm, P.A.;
 Law Offices of Gordon Ball; Pendley, Baudin & Coffin, LLP; and Erwin Chemerinsky, Esq.”
 Dkt. 556 at 28. Taylor Martino P.C. and Professor Stephen Saltzburg also contributed.
 5
   See Redman v. RadioShack Corp., 768 F.3d 622, 630 (7th Cir. 2014) (“[A]dministrative costs
 should not have been included in calculating the division of spoils between class counsel and
 class members.”). Here, the Claims Administrator estimates that the cost of Settlement notice
 and claims administration will be $2.1 million. Nelson Decl. ¶ 13. Thus, Class Counsel’s fee
 request is $82,633,333.33 (($250 million – $2.1 million) / 3) plus interest accrued on the fund.




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 judicial elections or to recover a verdict lost in previous litigation. The path to success in this

 case was long, steep, and narrow—and flanked by many precipitous cliffs, both factual and legal.

             On the facts, it is important to note that unlike many cases where attorneys seek a

 substantial fee, Class Counsel here uncovered the well-concealed fraud entirely on their own

 (and with the assistance of the investigators they hired). Nothing about this case was public

 knowledge, and it was not assisted by any governmental agencies. This, too, is extremely

 uncommon. See, e.g., Fitzpatrick Decl. ¶ 23 (discussing a study finding that “private lawyers . . .
 were the first to discover fraud only 3% of the time”).

             As a result, the burden of building this case was borne entirely by Plaintiffs, and there

 was certainly no guarantee when they took the case that they would prevail. In fact, two years

 after Plaintiffs filed their complaint, Magistrate Judge Williams ruled that Plaintiffs still had not

 sufficiently “connect[ed] the dots” between State Farm and Justice Karmeier. Dkt. 300 at 5.

 Through diligent discovery and advocacy, Plaintiffs ultimately defeated two summary judgment

 motions and, by the time the parties were able to reach agreement, were well-prepared to try their

 case. But that does not undermine the complexity and uncertainty of the challenges Plaintiffs

 faced when they filed suit in 2012.

             On the law, too, Plaintiffs faced significant risk. Defendants repeatedly advanced a

 number of strong legal challenges, any one of which could have resulted in complete dismissal of

 the case. Those challenges included, among others: Rooker-Feldman, claim and issue

 preclusion, RICO proximate cause, RICO damages, Noerr-Penington, and the statute of

 limitations. As set forth below, these issues were briefed extensively in a motion to dismiss, a

 petition for writ of mandamus, class certification filings, two petitions for leave to appeal

 pursuant to Rule 23(f), and two summary judgment motions. See, e.g., Dkts. 13, 32, 61, 159,

 467, 646, 694; see also Declaration of Robert J. Nelson (“Nelson Decl.”) ¶ 2 & Ex. A (list of

 contested motions). And while Plaintiffs ultimately prevailed through the beginning of trial, the

 Court noted that these defenses were “significant” and “difficult” and suggested they could pose

 obstacles on appeal. September 4, 2018, Hr’g Tr. at 6:25-7:3 (“In addition to a significant


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 question regarding Rooker-Feldman, the plaintiffs face difficult issues having to do with Noerr-

 Pennington, perhaps res judicata, and a fact-based statute of limitations issue . . . .”). Notably,

 one of the Seventh Circuit judges that reviewed State Farm’s initial Rule 23(f) petition dissented

 from the order denying State Farm leave to appeal, which suggested that she may have voted to

 reverse this Court and dismiss the case entirely for lack of jurisdiction. In re: State Farm Auto.

 Ins. Co., No. 16-8020, Dkt. 38 (7th Cir. Dec. 8, 2016).

             For all these reasons, and others, Professor Silver noted that “this is one of the most
 important lawsuits of my lifetime[, and] . . . also one of the riskiest, as every relevant metric

 shows.” Silver Decl. at 33. Similarly, Professor Rubenstein identified “[a] dozen independent

 factors [that] demonstrate the riskiness of this case viewed ex ante – and [that were] borne out by

 the arc of the litigation.”6 Rubenstein Decl. ¶ 36. Professor Fitzpatrick, too, observed that “it is

 a gross understatement to say that this case involved above-average risks.” Declaration of Brian

 Fitzpatrick (“Fitzpatrick Decl.”) ¶ 21 (emphasis in original).

             In sum, this lawsuit was always a long shot. But the issues it addressed—the integrity of

 the courts and the due process and property rights of nearly 4.7 million class members—were too

 important to Plaintiffs and their Counsel not to forge ahead.

 II.         Class Counsel Fiercely Litigated This Case for More Than Six Years and Settled
             Only After Trial Had Begun.
             To say this case was hard fought would be a dramatic understatement. The principal

 Defendant here, State Farm, is among the biggest companies in the world.7 It was operating with

 virtually unlimited resources, and—as demonstrated in this case and in Avery—it had little

 interest in settling. Instead, State Farm and its co-defendants mounted a formidable defense,

 6
   In light of these risks, no other lawyers were even remotely interested in taking the case, and
 none opposed or otherwise contested Plaintiffs’ Motion for Appointment of Co-Lead and Liaison
 Counsel. Dkt. 179. In fact, two of the firms initially prosecuting this case later withdrew due to
 the ongoing risks and expense of prosecuting the case. See Dkts. 439 (withdrawal of Richard H.
 Taylor, Steven A. Martino, and W. Lloyd Copeland of Taylor Martino, P.C.) and 455
 (withdrawal of Sidney W. Jackson, III of Jackson Foster, LLC).
 7
   See, e.g., http://fortune.com/fortune500/state-farm-insurance-cos/ (ranking State Farm 36th
 among the Fortune 500).


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 advanced by some of the largest law firms and most reputable litigators.

             Unsurprisingly, then, “the motion practice and discovery in this matter” were

 “extraordinarily protracted and complex.” September 4, 2018, Hr’g Tr. at 6:8-10. Over the

 course of the litigation, Class Counsel (1) engaged in lengthy pre-filing discovery and

 investigation; (2) briefed approximately 100 contested motions, including three requests for

 interlocutory appeal briefed in the Seventh Circuit; (3) carefully reviewed hundreds of thousands

 of pages of documents to construct the complex money trail and other circumstantial evidence
 necessary to prove their case; (4) took and defended 68 depositions; (5) participated in more than

 50 discovery hearings before the Magistrate Judge, most of which were preceded by lengthy

 meet and confers and letter briefs not filed on the docket; (6) worked with eleven expert

 witnesses, many of whom prepared multiple expert reports; and (7) prepared for and began what

 was to be a six-week trial. See Nelson Decl., Exhibits A-C.

             As a result, this case took a lot of work and a lot of money. In all, Class Counsel

 dedicated 55,303.10 hours (and $29,163,729.05 in lodestar) to this litigation. See Nelson Decl.

 ¶ 6. Class Counsel also advanced approximately $7 million in out-of-pocket costs, all of which

 was necessary to secure experts, jury and trial consultants, and other services necessary to go

 toe-to-toe with motivated and well-funded defendants. In all, then, “Class Counsel have loaned

 the class tens of millions of dollars – and risked losing every penny of it on the outcome of his

 case.” Rubenstein Decl. ¶ 36(j). They did so without hesitation in the years-long pursuit of the

 best possible result for the Class.

 III.        The Settlement Is a Big Win for the Class.
             The full terms of the Settlement, and the reasons it should receive final approval, are set

 forth in the simultaneously-filed motion for final approval of the Settlement, but two points are

 worth mentioning here. First, “$250 million is a lot of money.” Rubenstein Decl. ¶ 37(a).

 Every penny of it, less fees and costs, will go to the Class, and many Class members will receive

 their payments automatically. Second, the risks at trial and beyond were significant. Even after

 the Settlement was reached, State Farm insisted that “in view of its strong factual and legal


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 defenses in this case, it would prevail at trial, upon appeal . . . , or at both stages. Dkt. 940 at 1.

 Plaintiffs, too, believed they had a strong case, but knew that if they did win at trial, an appeal

 was inevitable. In the best case scenario, this would have meant several more years before the

 Class could recover a dime. In the worst case—a very real possibility, for all the reasons stated

 above—the Class would have recovered nothing at all. Counsel fought long and hard and would

 never have inked a deal they did not feel confident was in the best interests of the Class. See

 Nelson Decl. ¶ 19.
                                               ARGUMENT

 I.          Class Counsel’s Request Reflects a Conservative Estimate of the “Market Price” for
             Attorneys’ Fees—Especially Given That This Case Involved Extreme Risks and
             Proceeded to Trial.
             “[L]awyer[s] who recover[] a common fund . . . [are] entitled to a reasonable attorney’s

 fee from the fund as a whole.” Boeing Co. v. Van Gemert, 444 U.S. 472, 478 (1980); see also

 Sutton v. Bernard, 504 F.3d 688, 691 (7th Cir. 2007). “[W]hen deciding on appropriate fee

 levels in common-fund cases,” like this one, courts in the Seventh Circuit “must do their best to

 award counsel the market price for legal services, in light of the risk of nonpayment and the

 normal rate of compensation in the market at the time.” In re Synthroid Mktg. Litig. (“Synthroid

 I”), 264 F.3d 712, 718 (7th Cir. 2001); accord Williams v. Rohm & Haas Pension Plan, 658 F.3d

 629, 635 (7th Cir. 2011) (“[T]he district court must try to assign fees that mimic a hypothetical

 ex ante bargain between the class and its attorneys.”). There is little question that, under the

 facts of this case, the ex ante market price for Class Counsel’s services was no less than 33.33%

 of the common fund.

             A.     The market price is measured as a percentage of the fund.
             Although courts in this Circuit have the discretion to use either a percentage of the fund

 or lodestar methodology, Florin v. Nationsbank of Georgia, N.A., 34 F.3d 560, 566 (7th Cir.

 1994), the percentage method is employed by “the vast majority of courts in the Seventh Circuit

 (like other Circuits).” Fitzpatrick Decl. ¶ 13 (citing empirical studies); C.f. Beesley v. Int'l Paper

 Co., No. 3:06-CV-703-DRH-CJP, 2014 WL 375432, at *2 (S.D. Ill. Jan. 31, 2014) (Herndon, J.)


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 (“When determining a reasonable fee, the Seventh Circuit Court of Appeals uses the percentage

 basis rather than a lodestar or other basis.”).8 This makes sense, because “it is essentially

 unheard of for sophisticated lawyers to take on a case of this magnitude and type on any basis

 other than a contingency fee, expressed as a percentage of the relief obtained.” In re Payment

 Card Interchange Fee and Merch. Discount Antitrust Litig., 991 F. Supp. 2d 437, 440 (E.D.N.Y.

 2014), rev’d on other grounds, 827 F.3d 223 (2d Cir. 2016). Thus, where, as here, “the

 ‘prevailing’ method of compensating lawyers for ‘similar services’ is the contingent fee, then the

 contingent fee is the ‘market rate.’” Kirchoff v. Flynn, 786 F.2d 320, 324 (7th Cir. 1986)

 (emphasis in original); accord Silver Decl. at 9-11.

             B.     Class Counsel’s 33.33% request reflects the ex ante market price under the
                    facts of this case.
             Here, “Class Counsel’s request for 33.33% is not only a good approximation of what

 class members would have agreed to, but it is a very conservative one.” Fitzpatrick Decl. ¶ 16.

 This is true for a number of reasons.

                    1.     Fee agreements from the named Plaintiffs and sophisticated entities in
                           other litigation support Counsel’s fee request.
             “The first benchmark” of the market rate “is actual agreements” between plaintiffs and

 counsel. Synthroid I, 264 F.3d at 719. Here, all named plaintiffs signed agreements calling for

 attorneys’ fees of 40%, which is even more than Class Counsel now request. Nelson Decl. ¶ 11.

 And, while these agreements may be of limited value given the relatively low-stakes for each

 individual, empirical data show that sophisticated clients and sophisticated named plaintiffs

 regularly agree to pay 33.33% or more in risky, complex litigation, even when potential rewards

 are enormous. Indeed, as Professor Silver’s Declaration confirms, fee percentages in this range

 are common in patent and other large commercial cases, as well as in class actions led by

 8
   See also, e.g., Cooper v. IBM Pers. Pension Plan, No. CIV. 99-829-GPM, 2005 WL 1981501,
 at *3 (S.D. Ill. Aug. 16, 2005), rev'd and remanded on other grounds, 457 F.3d 636 (7th Cir.
 2006) (“The approach favored in the Seventh Circuit is to compute attorney’s fees as a
 percentage of the benefit conferred on the class.”); Spano v. Boeing Co., No. 06-CV-743-NJR-
 DGW, 2016 WL 3791123, at *2 (S.D. Ill. Mar. 31, 2016) (same); Nolte v. Cigna Corp., No.
 2:07-CV-2046-HAB-DGB, 2013 WL 12242015, at *2 (C.D. Ill. Oct. 15, 2013) (same).


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 sophisticated business entities. See Silver Decl. at 17-20 (discussing empirical study finding that

 in patent cases “the contingent rates are similar to the ‘one-third’ that a stereotypical contingent

 personal injury lawyer charges,” and that the mean rate percentage was 38.6% for flat percentage

 contracts); id. at 21 (surveying examples of business entities paying up to 40% in high-stakes

 contingency fee arrangements); id. at 26, Table 1 (identifying 12 multi-million dollar settlements

 in pharmaceutical antitrust cases awarding 33.33% in fees plus expenses). This in-depth analysis

 confirms that the market that this Court must mimic—one formed by sophisticated entities in
 comparable contexts—routinely produces fee agreements at or above the percentage Class

 Counsel request here.

                    2.      Courts in this Circuit regularly award fees of 33.33% or higher.
             Another relevant data point for the market price for attorneys’ fees is those awarded in

 “analogous class action settlements.” Taubenfeld v. AON Corp., 415 F.3d 597, 600 (7th Cir.

 2005); accord Silverman v. Motorola Solutions, Inc., 739 F.3d 956, 958 (7th Cir. 2013). This

 metric, too, confirms the reasonableness of Class Counsel’s request.

             As a starting point, many courts within the Seventh Circuit have awarded percentage fees

 of 33.33% or higher to class counsel.9 Moreover, the most recent empirical study on class action

 9
   See, e.g., Young v. Cnty. of Cook, No. 06 C 552, 2017 WL 4164238, at *6 (N.D. Ill. Sept. 20,
 2017) (awarding 33.33% of $52 million common fund and overruling objections calling for
 sliding scale approach); Spano, 2016 WL 3791123, at *2 (“A one-third fee is consistent with the
 market rate in settlements concerning this particularly complex area of law.”); In re Dairy
 Farmers of Am., Inc., 80 F. Supp. 3d 838, 862 (N.D. Ill. 2015) (awarding one third plus expenses
 of $46 million common fund); Standard Iron Works v. ArcelorMittal, No. 08 C 5214, 2014 WL
 7781572, at *1 (N.D. Ill. Oct. 22, 2014) (“The Court finds that a 33% fee [of $163.9 million
 common fund] comports with the prevailing market rate for legal services of similar quality in
 similar cases.”); Beesley, 2014 WL 375432, at *4 (Herndon, J.) (awarding one third of common
 fund); Fosbinder-Bittorf v. SSM Health Care of Wisconsin, Inc., No. 11-CV-592-WMC, 2013
 WL 5745102, at *1 (W.D. Wis. Oct. 23, 2013) (same); George v. Kraft Foods Global, Inc., No.
 1:07-CV-1713, 2012 WL 13089487, at *4 (N.D. Ill. June 26, 2012) (same); City of Greenville v.
 Syngenta Crop Prot., Inc., 904 F. Supp. 2d 902, 908–09 (S.D. Ill. 2012) (awarding one-third of
 $105 million settlement plus roughly $8.5 million in costs and holding that “[w]here the market
 for legal services in a class action is only for contingency fee agreements, and there is a
 substantial risk of nonpayment for the attorneys, the normal rate of compensation in the market is
 33.33% of the common fund recovered.”); Schulte v. Fifth Third Bank, 805 F. Supp. 2d 560, 601
 (N.D. Ill. 2011) (awarding one third of common fund); Will v. Gen. Dynamics Corp., No. CIV.
 06-698-GPM, 2010 WL 4818174, at *4 (S.D. Ill. Nov. 22, 2010) (same); Martin v. Caterpillar
 Inc., No. 07-CV-1009, 2010 WL 11614985, at *2 (C.D. Ill. Sept. 10, 2010) (“[C]ourts in the


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 fee awards shows that the average fee in the Seventh Circuit—without regard to complexity,

 risk, duration, or results—is 31.6%. Rubenstein Decl. ¶ 17 (citing studies); see also Fitzpatrick

 Decl. ¶ 18 (discussing empirical study demonstrating that fees in the 30-35% range were the

 most common). These statistics alone, however, do not tell the full story, because they do not

 account for the riskiness of the case, the fact that Class Counsel took this case to trial, or the

 quality of Counsel’s performance in getting the case to trial. Each of these factors, as discussed

 below, further supports Counsel’s request.

                    3.      The market rewards risk, and this case was tremendously risky.
             “The greater the risk of walking away empty-handed, the higher the award must be to

 attract competent and energetic counsel.” Silverman, 739 F.3d at 958; accord, e.g., Synthroid I,

 264 F.3d at 721 (The market rate must account for the “risk of non-payment a firm agrees to

 bear.”); Fitzpatrick Decl. ¶ 21 (“[I]n order to mimic the market well, we have to adjust baseline

 data like this to the particular circumstances that existed at the outset of this case. That is, if this

 case was riskier than the average case, we would have expected the lawyers in a competitive

 market to demand an above-average fee percentage to take it on.”) (emphasis in original). Thus,

 “[w]hen determining the reasonableness of a fee request, courts put a fair amount of emphasis on

 the severity of the risk (read: financial risk) that class counsel assumed in undertaking the

 lawsuit.” Dairy Farmers, 80 F. Supp. 3d at 847-48.

             For all the reasons set forth above, this case was about as risky as a case could be. It was

 filed under a statute—RICO—that is notoriously unkind to plaintiffs, Gross, 628 F. Supp. 2d at

 479-83, and even more so to class action plaintiffs, Silver Decl. at 34-36. It also advanced an

 unprecedented theory of civil liability and was both discovered and prosecuted by Class Counsel

 alone, without the assistance of any public expose or government agency. “This novelty

 presented many legal barriers,” any one of which could have proved fatal to Plaintiffs’ claims:

 Seventh Circuit award attorney fees ‘equal to approximately one-third or more of the
 recovery.’ The Seventh Circuit itself has specifically noted that ‘the typical contingent fee is
 between 33 and 40 percent.’”); Harzewski v. Guidant Corp., No. 05-cv-01009, Dkt. 194 (S.D.
 Ind. Sept. 10, 2010) (awarding 38% of the common fund).


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             Did the earlier litigation preclude a new litigation by virtue of res judicata or the
             Rooker-Feldman doctrine? Had the RICO statute of limitations run between the
             first and second litigation? Could the class prove that the election of the new
             Justice changed the result in the first litigation? Can a tribunal’s decision to
             overturn a judgment establish an “injur[y]” to “business or property” as required
             by RICO? Were the defendants’ alleged misconducts here protected by the First
             Amendment? If one goes through each step in this litigation decision tree and
             assigns probabilities of success to the class at each step and then multiplies all of
             those probabilities together, it becomes quite clear that the risks here were much
             higher than in the typical class action.
 Fitzpatrick Decl. ¶ 22 (emphasis in original); see also Silver Decl. at 34-38 (“[T]his is one of the

 most important lawsuits of my lifetime. It is also one of the riskiest, as every relevant metric

 shows.”). Given that courts routinely award 33.33% and that (according to at least one study)
 the average fee award in this Circuit is 31.6%, a market that “put[s] a fair amount of emphasis on

 the severity of the [ex ante] risk” surely would set a reasonable attorneys’ fees in this outlier case

 at no less than 33.33%, if not higher. See Dairy Farmers, 80 F. Supp. 3d at 847-48.

                    4.      The market price typically increases when cases go to trial.
             Sophisticated clients also recognize that even contingent-fee attorneys’ compensation

 should, to a certain degree, reflect the amount of work performed. Thus, “plaintiffs in the market

 for legal representation often pay their lawyers with bifurcated rates that call for a higher

 percentage if their lawyers have to take their cases to trial, with fees as high as 50% in such

 circumstances.” See Fitzpatrick Decl. ¶ 20 (citing empirical data). Courts recognize this as well,

 and award fees reflecting this market tendency. While trials are rare and the data limited, of the

 11 cases proceeding to trial that Professor Rubenstein found in his database of more than 1,000

 cases, the “mean fee award . . . was 36%, with five cases having awards of 38.9% or more and

 three of those having fee awards of 40% or more. The median fees and costs awarded in the 11

 cases that progressed to trial with applicable data was 45%.” Rubenstein Decl. ¶ 18. Taking this

 into account, Class Counsel’s fee request proves even more reasonable.

                    5.      Class Counsel performed well and achieved a significant result for the
                            Class.
             Of course, courts consider not just the level of risk and amount of work performed, but



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 also quality of the work. Taubenfeld, 415 F.3d at 600 (7th Cir. 2005) (noting that the “evidence

 of the quality of legal services rendered” is among the “type[s] of evidence needed to mimic the

 market per Synthroid I”); Schulte 805 F. Supp. 2d at 597 (Compensation also depends on “the

 quality of [counsel’s] performance.”). Class Counsel’s work here, and the result they achieved,

 are both noteworthy. As described above, over the course of more than six years and

 approximately 100 contested motions, Counsel navigated a veritable minefield of legal and

 factual challenges, certified a nationwide class, survived motions to dismiss, motions for
 summary judgment, and three trips to the Seventh Circuit, and took the case through the

 beginning of trial. Given the novelty of the claim, and the difficulty of prevailing under RICO,

 this was no small feat. The result of this diligent advocacy and dogged effort is a substantial

 Settlement that affords significant cash relief to the Class. This factor, too, supports Class

 Counsel’s request.

                    6.      Under these facts, the market does not reduce or taper fee percentages
                            for larger recoveries, and neither should courts.
             Both the actual market for legal services, and the Seventh Circuit, have flatly rejected the

 notion that counsels’ fee percentages should decrease as the recoveries they secure increase. As

 Judge Easterbrook observed, “[p]rivate parties would never contract for such an arrangement,

 because it would eliminate counsel’s incentive to press for more [money] from the defendants.”

 Synthroid I, 264 F.3d at 718. The Seventh Circuit has therefore “disapproved” a “megafund cap”

 that would limit attorney fee percentages in large cases. Id.; see also In re FedEx Ground

 Package Sys., Inc., Employment Practices Litig., 251 F. Supp. 3d 1225, 1239 (N.D. Ind. 2017)

 (“Our court of appeals . . . has rejected the concept behind the ‘megafund’ theory”).

             This makes good economic sense, Fitzpatrick Decl. ¶ 26, and scores of courts in this

 Circuit and elsewhere have awarded high percentages to class counsel in “megafund” cases.

 Indeed, Professor Silver compiled a table of 63 cases (in addition to those discussed elsewhere in

 his report) with recoveries between $100 million and $1.08 billion in which courts awarded fee

 percentages of 25% or greater, 19 of which were equal to or greater than 33%. Silver Decl. at



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 38-44, Table 2. There are many more examples,10 including one that shares notable features with

 this case: In re U.S. Foodservice, Inc. Pricing Litig., a RICO class action with sophisticated lead

 plaintiffs that resulted in a $297 million settlement from which the court awarded class counsel

 33.33% in fees and $7,941,358.41 litigation expenses. No. 3:07-md-1894 (AWT), Dkt. 510-1

 (Aug. 29, 2014) (fee motion); Dkt. 523 (Dec. 9, 2014) (order granting fee motion). There is no

 sound reason to limit the attorneys’ fee percentage in a megafund case such as this.

             Silverman does not counsel otherwise. 739 F.3d at 956. There, the Seventh Circuit

 affirmed the district court’s award of 27.5% of a $200 million common fund. In so doing, it

 noted that such an “award may be at the outer limit of reasonableness.” Id. at 959 (emphasis

 added). But this cannot reasonably be interpreted as a per se ceiling (certainly not in light of

 Synthroid I) and is best understood in the context of that case, which “presented none of the ex

 ante risks of this case (for example, Silverman was a securities fraud case, where class

 certification is relatively perfunctory), and, perhaps even more importantly, did not go to trial.”

 Fitzpatrick Decl. ¶ 25.

             In Silverman, as in Synthroid I, 264 F.3d at 721, Judge Easterbrook also suggested that

 courts should consider tapered fee structures that “provide for a recovery that increases at a

 decreasing rate.” Silverman, 739 F.3d at 959. One of the concerns animating this opinion was

 the perceived absence of “suits seeking more than $100 million in which solvent clients agree ex

 ante to pay their lawyers a flat portion of all recoveries, as opposed to a rate that declines as the

 recovery increases.” Id. But, as Professor Silver’s Declaration confirms, such examples abound.

 Silver Decl. at 28-29 (summarizing his analysis of such cases). Moreover, outside of the

 securities context, sophisticated clients rarely employ declining percentages, and large


 10
    See, e.g., Silverman, 739 F.3d 956 (affirming award of 27.5% of $200 million settlement); In
 re Anthem, Inc. Data Breach Litig., No. 15-MD-02617-LHK, 2018 WL 3960068, at *9 (N.D.
 Cal. Aug. 17, 2018) (27% of $115 million); In re Lithium Ion Batteries Antitrust Litig., No. 13-
 MD-02420-YGR, 2018 WL 3064391, at *2 (N.D. Cal. May 16, 2018) (30% of $139.9 million);
 In re Air Cargo Shipping Servs. Antitrust Litig., No. 06-MD-1775-JG-VVP, 2012 WL 3138596,
 at *5 (E.D.N.Y. Aug. 2, 2012) (25% of $198 million); In re Comverse Tech., Inc. Sec. Litig., No.
 06-CV-1825 (NGG), 2010 WL 2653354, at *6 (E.D.N.Y. June 24, 2010) (25% of $225 million).


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 corporations “‘have instead typically used straight percentage of the recovery formulas.’” Id. at

 30 (quoting Declaration of John C. Coffee, Jr., submitted in In re High Fructose Corn Syrup

 Antitrust Litig., M.D.L. 1087 (C.D. Ill. Oct. 7, 2004)).

             Declining percentages are even less rational for “plaintiffs who cannot monitor their

 lawyers to contract for such awards for the very same reason such plaintiffs would not want to

 pay their lawyers the same percentage if they settled early or went to trial: tapering

 disincentivizes lawyers from working hard for the largest recovery.” Fitzpatrick Decl. ¶ 27
 (emphasis in original). Thus, a “‘Chicago School’” analysis shows that, if we are to taper at all

 for clients who cannot monitor, we should taper upward not downward.” Id. (emphasis in

 original). As it turns out, sophisticated clients sometimes do just that. See id. (citing examples);

 Silver Decl. at 30-32 (same and discussing Professor Coffee’s economic argument for increasing

 percentage fee awards).

             For these reasons, courts mimicking the market need not—and probably should not—

 apply declining percentages in large cases, especially under the facts of this case. This is

 confirmed by the result of Silverman itself, which affirmed a flat percentage in a megafund case.

 139 F.3d at 956; see also Dairy Farmers, 80 F. Supp. 3d at 845 (awarding a flat one third fee

 notwithstanding a “seemingly tailor-made tiered-pricing arrangement” set by the Seventh Circuit

 in In re Synthroid Mktg. Litig. (“Synthroid II ”), 325 F.3d 974, 979 (7th Cir. 2003)).

             C.     A lodestar cross-check, though unnecessary, also confirms the reasonableness
                    of Class Counsel’s request.
             As a threshold matter, a lodestar cross-check is not required in this Circuit. Rohm &

 Haas Pension Plan, 658 F.3d at 636 (“[C]onsideration of a lodestar check is not an issue of

 required methodology.”); Kolinek v. Walgreen Co., 311 F.R.D. 483, 500 (N.D. Ill. 2015) (“[N]o

 Seventh Circuit case law suggests that a percentage-of-the-fund approach will yield a reasonable

 result only where it satisfies a lodestar cross-check.”). Indeed, the “use of a lodestar cross-check

 has fallen into disfavor,” Beesley, 2014 WL 375432, at *3 (Herndon, J.) (citing Synthroid II, 325

 F. 3d at 979-80)), and, in many cases, can be “counterproductive,” Gen. Dynamics Corp., 2010



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 WL 4818174, at *3 (collecting cases). See also Fitzpatrick Decl. ¶ 14 (“Rational plaintiffs would

 want to enter fee arrangements that give their lawyers incentives to recover as much as they can

 as quickly as they can (i.e., the percentage method) rather than arrangements that give them

 incentives to drag cases on and to be indifferent as to recovery (i.e., the lodestar method).”).

 Nevertheless, to the extent the Court wishes to conduct such a cross-check here, it confirms the

 reasonableness of Plaintiffs’ request.11

                    1.      Class Counsel expended a reasonable number of hours on this
                            incredibly hard-fought litigation.
             As noted above, this case was intensively litigated for more than six years. During that

 time, Defendants mounted a formidable defense. As a result, and because of the extremely

 complex nature of both the facts and law underlying this case, “the motion practice and

 discovery in this matter have been extraordinarily protracted and complex.” September 4, 2018,

 Hr’g Tr. at 6:8-10. A thorough, though non-exhaustive, list of the work Plaintiffs undertook to

 advance this case through class certification and past motions to dismiss, summary judgment

 motions, and interlocutory appeals, all the way to trial, is provided above.

             In furtherance of those efforts, and many more, Class Counsel expended 55,303.10 hours

 (and $29,163,729.05 in lodestar), which breaks down to less than 8,000 hours/year over seven

 years (including a reasonable time for pre-filing investigation and complaint preparation), or

 23.92 hours per day the case was pending. Nelson Decl. ¶ 6; see also Rubenstein Decl. ¶¶ 29-32.

 As confirmed by Professor Rubenstein’s empirical analysis, this is well below the mean in cases

 in the $250 million range that progressed to trial, and even lower after accounting for the number

 of years this case was litigated. See Rubenstein Decl. ¶¶ 29-32 (Class Counsel’s hours represent

 67% of mean among $250 million cases that progressed to trial and 51% of the hour/day mean,

 accounting for the duration of the litigation). Class Counsel’s hours are therefore reasonable in

 11
   Plaintiffs have submitted a summary of the time expended in connection with this litigation, as
 well as the blended average billing rate. See Nelson Decl. ¶¶ 6-9. These summaries are
 sufficient. Beesley, 2014 WL 375432, at *3 (Herndon, J.) (“The Court may rely on summaries
 submitted by attorneys and need not review actual billing records.”). However, Counsel stands
 ready to submit detailed records should the Court request them.


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 the context of this litigation. Id.; see also City of Greenville, 904 F. Supp. 2d at 909 (finding

 reasonable 83,300 hours for two firms over 8 years, which is approximately 10,412 hours/year).

                    2.      Class Counsel’s rates are reasonable under the facts of this case, and
                            well below those recently approved for class action attorneys in this
                            District.
             Class Counsel calculated their lodestar using the customary billing rates of all

 timekeepers at the time the services were rendered (i.e., using historical rather than present

 rates). See Nelson Decl. ¶¶ 7-8. The blended average rate that results from this analysis is

 $527.34. Id. ¶ 9. Professor Rubenstein found that Class Counsel’s rates were in the middle of

 the range of blended rates approved in 22 recent fee approvals in the Northern District of Illinois.

 Rubenstein Decl. ¶ 23. Even assuming customary rates are slightly lower in the Southern

 District, Class Counsel’s blended rate is no more than 13.61% above the average local market

 rate. Id. ¶ 24. This is eminently reasonable given (1) the complexity of the issues and the fact

 that the case proceeded to trial; (2) the resulting need for a relatively high proportion of time

 from very experienced lawyers; and (3) the presence of counsel with national practices and

 national expertise, whose participation was essential to prosecuting this difficult case. Id.

             Notably, this Court, and others in this District, have recently approved rates for

 contingent fee class action attorneys that significantly exceed those outlined above. In Beesley,

 for example, this Court found reasonable the following rates in 2014: “for attorneys with 15–24

 years of experience, $757 per hour; for attorneys with 5–14 years of experience, $545 per hour;

 for attorneys with 2–4 years of experience, $394 per hour; for Paralegals and Law Clerks, $275

 per hour; for Legal Assistants, $170 per hour.” 2014 WL 375432, at *3. Two years later, Judge

 Rosenstengel used the same structure (with increased rates, accounting for the passage of time),

 and found reasonable the following: “for attorneys with at least 25 years of experience, $998 per

 hour; for attorneys with 15–24 years of experience, $850 per hour; for attorneys with 5–14 years

 of experience, $612 per hour; for attorneys with 2–4 years of experience, $460 per hour; for

 Paralegals and Law Clerks, $309 per hour; for Legal Assistants, $190 per hour.” Spano, 2016

 WL 3791123, at *4 (approving a lodestar of $18,066,346 with a blended rate of $673.74). If


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 Class Counsel here had applied those billing rates (even without adjustment to 2018), their

 lodestar would increase by more than 33% to $39,091,388.02 and yield a multiplier of 2.11.

 Nelson Decl. ¶ 10. Viewed in this context, Class Counsel’s historical rates, and blended average

 of $527.34, are not just reasonable, but conservative.

                    3.      The resulting lodestar multiplier reflects the risk Class Counsel
                            undertook and falls below the mean in comparable cases.
             “[A] risk multiplier is not merely available in a common fund case but mandated, if the

 court finds that counsel ‘had no sure source of compensation for their services.’” Florin, 34 F.3d

 at 565; accord City of Greenville, 904 F. Supp. 2d at 909 (“[W]here counsel ‘had no sure source

 of compensation for their services,’ the Court must apply a risk multiplier to compensate the

 attorneys for the risk of nonpayment in the event the litigation were unsuccessful.”). The

 Seventh Circuit has also observed that “‘the need for such an adjustment is particularly acute in

 class action suits. The lawyers for the class receive no fee if the suit fails, so their entitlement to

 fees is inescapably contingent.’” Florin, 34 F.3d at 565 (quoting In re Cont’l Ill. Sec. Litig., 962

 F.2d 566, 569 (7th Cir. 1992)). It is beyond dispute that here, in this contingent class action

 lawsuit, there was no guarantee that counsel would secure a single penny for their services or

 even reimbursement for the millions of dollars in out-of-pocket expenses that they advanced.

 The Court must, therefore, apply a risk adjustment multiplier.

             The specific multiplier that results from this fee request is 2.83, and if the Court were to

 use some of the above-mentioned rates recently approved in this District for contingent class

 representation, it would be as low as 2.11. This is customary and reasonable in the context of

 this litigation for several reasons.

             First, as a general matter, courts in this Circuit regularly approve multipliers between one

 and four. See, e.g., City of Greenville, 904 F. Supp. 2d at 909 (citing Harman v. Lyphomed, Inc.,

 945 F.2d 969, 976 (7th Cir. 1991) (noting that the Seventh Circuit, and courts within it, regularly

 approve multipliers between one and four). In large cases like this one, moreover, empirical

 studies demonstrate that a multiplier of 2.83 is actually below average. Rubenstein Decl. ¶ 34(b)



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 (discussing two empirical studies finding a 3.18 mean multiplier in cases with recoveries of over

 $175.5 million and a 4.5 mean multiplier in cases with recoveries over $100 million); see also

 id., Exhibit E (listing more than 100 cases with a multiplier over 3). From a macro perspective,

 therefore, the multiplier requested here is entirely ordinary.

             Second, and more to the point, a multiplier of 2.83 is particularly reasonable under the

 facts of this case. In the Seventh Circuit, multipliers should reflect the risks counsel faces ex

 ante. Harman, 945 F.2d at 976 (“The [multiplier] level selected should, to the extent possible,
 be without regard to most developments during discovery and litigation because it is designed to

 reflect the riskiness of the case at the outset.”). “The multiplier is” therefore “determined by

 dividing 1 by the probability of success” at the outset of the case. City of Greenville, 904 F.

 Supp. 2d at 909 (quoting Florin, 60 F.3d at 1248 n. 3). Thus, the 2.83 multiplier is justified here

 if Plaintiffs had less than a 35% chance of prevailing when they filed suit (1/2.83=0.3533). For

 all the reasons detailed above, this is certainly the case. Again, Professor Silver called this “one

 of the riskiest” cases he had ever seen, Silver Decl. at 33, and Professor Rubenstein opined

 “Class Counsel had far less than a 33% chance of securing a $250 million settlement in this

 case,” Rubenstein Decl. ¶ 39.

             The lodestar cross-check readily confirms the reasonableness of Class Counsel’s request.

 II.         Class Counsel’s Requested Costs Are Reasonable.
             “It is well established that counsel who create a common fund like this one are entitled to

 the reimbursement of litigation costs and expenses, which includes such things as expert witness

 costs; computerized research; court reports; travel expense; copy, phone and facsimile expenses

 and mediation.” Beesley, 2014 WL 375432, at *3 (Herndon, J.) (citing Boeing, 444 U.S. at 478).

 Here, Class Counsel seek reimbursement of $6,971,852.80 in litigation expenses. See Nelson

 Decl. ¶ 12.12 Seven million dollars is a lot of money, but, at 2.8% of the common fund, it is

 12
   Class Counsel have provided a detailed summaries of their expenses, broken down into sixteen
 different categories. This summary is sufficient for the Court to “perform its oversight function.”
 Schulte, 805 F. Supp. 2d at 600 (relying on a “summary document” of expenses); see also
 Northbrook Excess & Surplus Ins. Co. v. Procter & Gamble, 924 F.2d 633, 643 (7th Cir. 1991).


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 significantly less than the average costs awarded, which is approximately “4 percent of the relief

 for the class.” In re AT & T Mobility Wireless Data Servs. Sales Tax Litig., 792 F. Supp. 2d

 1028, 1041 (N.D. Ill. 2011) (citing Theodore Eisenberg & Geoffrey P. Miller, Attorney Fees in

 Class Action Settlements: An Empirical Study, 1 J. Empirical Legal Stud. 27, 70 (2004)).

             Such costs are also commensurate with the stakes and duration of this litigation, and

 include, among other things, approximately: (1) $1.75 million for eleven highly-credentialed

 testifying experts instrumental to achieving class certification and defeating motions to dismiss
 and for summary judgment—most of whom submitted multiple reports, were deposed, and had

 prepared extensively for trial; (2) $1 million for consulting experts who advised Class Counsel

 on difficult legal issues and supported the testifying experts; (3) $918,000 to effectuate the

 Court-approved litigation notice plan; (4) $647,000 for the document review platform and

 services necessary to host hundreds of thousands of pages of documents and assist Counsel’s

 review; (5) $636,000 for travel and accommodations connected with more than one hundred

 hearings and depositions, several critical in-person strategy meetings, a number of mediation

 sessions, and trial preparation; (6) $606,000 for the investigators whose work was critical to

 uncovering the fraud and establishing the money trail; (7) $541,000 for jury consultants and

 other trial preparation experts; (8) $236,000 for legal research fees, necessary to brief the

 extremely high volume of motions involving complex legal issues; (9) $193,000 for transcripts

 and court reporters; and (10) $108,000 for a limited number of document review attorneys13

 (given the complex nature of the circumstantial evidence and its relationship to the legal claims,

 Class Counsel could not rely on contract attorneys for the majority of the document review).

             No doubt, this was an expensive case to prosecute. But as this Court previously

 recognized, “Class Counsel had a strong incentive to keep expenses at a reasonable level due to

 the high risk of no recovery when the fee is contingent.” Beesley, 2014 WL 375432, at *3

 13
   See, e.g., Dial Corp. v. News Corp., 317 F.R.D. 426, 438 (S.D.N.Y. 2016) (awarding
 “$7,512,915.12 in expenses,” including “a little more than $1 million” in expenses for “retaining
 contract attorneys to review” documents); Banas v. Volcano Corp., 47 F. Supp. 3d 957, 980
 (N.D. Cal. 2014) (holding that document review contract attorneys may be billed as costs).


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 (Herndon, J.). Moreover, here, as in Beesley, “the fact that Class Counsel does not seek interest

 as compensation for the time value of money or costs associated with advancing these expenses

 to the Class makes this fee request all the more reasonable.” Id. Class Counsel’s expenses are

 justified in the context of this extraordinary case.

 III.        The Named Plaintiffs’ Service Awards Are Reasonable.
             Plaintiffs request a service award of $25,000 for each of the three Class Representatives:

 Mark Hale, Todd Shadle, and Laurie Loger. Each of them has invested significant time and

 resources in this litigation for more than six years by, among other things: reviewing pleadings,

 responding to discovery requests, producing documents, sitting for depositions, preparing for

 trial, and overseeing the litigation. Nelson Decl. ¶ 11. Each of them also served as class

 representatives in the underlying Avery action and thus have been committed to representing this

 same group of policyholders for more than 20 years. Id. Under these circumstances, a service

 award of $25,000 to each representative (which, together, amounts to 0.003% of the common

 fund) is reasonable and appropriate. See, e.g., Cook v. Niedert, 142 F.3d 1004, 1016 (7th Cir.

 1998) (upholding award of $25,000 to class representative); Spano, 2016 WL 3791123, at *4

 (awarding $25,000 to two representatives and $10,000 to a third); Beesley, 2014 WL 375432, at

 *4 (Herndon, J.) (awarding $15,000 and $25,000); Abbott v. Lockheed Martin Corp., No. 06-CV-

 701-MJR-DGW, 2015 WL 4398475, at *4 (S.D. Ill. July 17, 2015) (awarding $25,000); Nolte v.

 Cigna Corp., No. 07-cv-2046, Dkt. 413 at 9 (C.D. Ill. Oct. 15, 2013) (same).

                                              CONCLUSION

             For all the foregoing reasons, Plaintiffs respectfully request that the Court award Class

 Counsel $6,971,852.80 as reimbursement of reasonable litigation costs and 33.33% of the

 common fund—including interest accrued thereon, but net of settlement administration costs—in

 attorneys’ fees, and award the Class Representatives service awards of $25,000 each.




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 Dated: October 16, 2018                Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

             Pursuant to Local Rule 7.1(b), I certify that a copy of the foregoing was served upon

 counsel via the Court’s CM/ECF system.
                                                           /s/ Robert J. Nelson




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